Case 19-13121-KHK           Doc 55    Filed 10/31/19 Entered 10/31/19 11:42:52               Desc Main
                                      Document     Page 1 of 1



                      UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division

 In re:

           Bluepoint Medical Associates, LLC          Case No. 19-13121-KHK
           Debtor.                                    Chapter 11

                 CORRECTED ORDER GRANTING EXPEDITED HEARING

          THIS CASE came on Atlantic Union Bank’s Motion for an Expedited Hearing (Docket

No. 45) on their Motion to Reconsider Order Permitting Use of Cash Collateral (Docket No. 44).

 Upon consideration, it is

          ORDERED:

          1. The Motion for an Expedited Hearing (Docket No. 45) is GRANTED, and a hearing

will be held on Tuesday, November 5, 2019 at 1:00pm, in Courtroom III, United States

Bankruptcy Court for the Eastern District of Virginia, 200 South Washington Street, Alexandria,

Virginia 22314.

          2. Any objections may be made orally at the hearing.

          3. The Clerk shall mail copies of this Order or give electronic notice of its entry, to the

parties listed below.


       Oct 30 2019
Date: __________________
                                                         /s/ Klinette H Kindred
                                                         Klinette H. Kindred
                                                         United States Bankruptcy Judge

Copy electronically to:                                   Entered on Docket: October 31, 2019
Joel L. Dahnke
Jack Frankel
John T. Donelan
Robert M. Marino
